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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA )
Plaintiff, )
) Civil No. 99-1875 (GK)
Vv. )
)
CARGILL, INCORPORATED and ) FILED
CONTINENTAL GRAIN COMPANY, _ )
Defendants. ) JUN 3 0 2000
)
CLERK
war ET
FINAL JUDGMENT

WHEREAS plaintiff, the United States of America (hereinafter "United States"), having
filed its Complaint herein, and defendants Cargill, Incorporated (“Cargill”) and Continental
Grain Company (“Continental”), by their respective attorneys, having consented to the entry of
this Final Judgment without trial or adjudication of any issue of fact or law herein, and without
this Final Judgment constituting any evidence against or an admission by any party with respect
to any issue of law or fact herein,

AND WHEREAS, the defendants have agreed to be bound by the provisions of this Final
Judgment pending its approval by the Court;

AND WHEREAS, prompt and certain divestiture of certain assets to third parties is the
essence of this agreement,

AND WHEREAS, the United States requires defendants to make certain divestitures for

the purpose of remedying the loss of competition alleged in the Complaint;

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AND WHEREAS, defendants have represented to the United States that the divestitures
required below can and will be made as provided in this Final Judgment and that defendants will
later raise no claims of hardship or difficulty as grounds for asking the Court to modify any of
the divestiture provisions contained below;

NOW, THEREFORE, before the taking of any testimony, and without trial or
adjudication of any issue of fact or law herein, and upon consent of the parties hereto, it is
hereby ORDERED, ADJUDGED, AND DECREED as follows:

I.
JURISDICTION

This Court has jurisdiction over the subject matter of this action and over each of the

parties hereto. The Complaint states a claim upon which relief may be granted against the

defendants under Section 7 of the Clayton Act, as amended (15 U S.C. § 18).

Il.
DEFINITIONS
As used in this Final Judgment:
A. "Acquirer" means the person or persons to whom defendants shall transfer the

Assets (as defined in subsection B).

B. “Assets” means all property rights held by Cargill or Continental in the river, rail
and port elevators defined in subsections C, F, H, J, L, M, Q, R, T and V.

C. “Beaumont port elevator” means the port elevator operated by Continental at or

near Beaumont, Texas, and all Related Assets.
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D “Capacity” when used in connection with a grain elevator may be based on the
maximum number of bushels that can be stored in the facility at any one time (storage capacity),
or the maximum number of bushels that can be moved through the facility over the course of a
designated unit of time (throughput capacity). When one grain company obtains the right to a
certain percentage of the capacity of the storage or loading capacity at another grain company’s
elevator pursuant to a throughput agreement or other commercial arrangement, it obtains the
right to the stipulated portion of total storage or throughput capacity at the facility, and not
necessarily the exclusive right to use a specific area in that facility.

E.  "Cargill” means defendant Cargill, Incorporated, and includes its successors and
assigns, their subsidiaries, divisions, groups, partnerships and joint ventures, affiliates, directors,
officers, managers, agents and employees.

F. “Caruthersville river elevator” means the river elevator operated by Continental at
or near Caruthersville, Missouri, and all Related Assets.

G. "Continental” means defendant Continental Grain Company and includes its
successors and assigns, their subsidiaries, divisions, groups, partnerships and joint ventures,
affiliates, directors, officers, managers, agents and employees.

H. “Chicago port elevator’ means the river elevator operated by Continental (also
known as “Chicago B’”) at or near Chicago, Illinois, and all Related Assets.

I. “Divest” means to sell or transfer a defendant’s rights in property that it owns, or to
assign or sublease a defendant’s rights in property that it leases or rents.

J “East Dubuque river elevator” means the river elevator operated by Cargill at or
near East Dubuque, Illinois, and all Related Assets.

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K. “Grain” means corn, wheat and other grains, and soybeans and other oilseeds, in
their unprocessed, commodity form.

L. “Lockport river elevator” means the river elevator operated by Continental at or
near Lockport, Illinois, and all Related Assets.

M_ “Morris river elevator” means the river elevator operated by Cargill at or near
Morris, Illinois, and all Related Assets.

N. “Person” means any natural person, corporation, association, firm or other business
or legal entity

O. “Property rights” means all legal rights possessed by defendants relating primarily
to the use, control or operation of a specific river, rail or port elevator, including but not limited
to: fee simple ownership rights, easements and all other real property rights for land,
improvements and fixtures owned by that defendant; leasehold and rental rights for facilities that
are leased or rented to that defendant, including all renewal or option rights; personal property
ownership rights for equipment and other personal property owned by that defendant and used in
the operation of those facilities; stockholder interests; and contract rights.

P. “Related Assets” means all real, personal and contract rights associated primarily
with the operation of a particular river, rail or port elevator, including but not limited to: all bins,
silos and other grain storage facilities, all improvements and equipment used for handling,
receiving, unloading, weighing, sampling, grading, elevating, storing, drying, conditioning and
loading grain; all of the real property on which the facility is located; all inventory, accounts

receivable, pertinent correspondence, files, customer lists and information and advertising
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materials relating to the facility; and all assignable contract rights specific to a facility with
suppliers, customers and transportation firms for that specific facility.

Q. “Salina rail elevator” means the elevator with outbound rail capability (also known
as “Salina East”) operated by Continental at or near Salina, Kansas, and all Related Assets.

R. “Seattle port elevator” means the port elevator operated by Cargill at or near
Seattle, Washington (commonly referred to as “Pier 86’), and all Related Assets.

S. “Standard Throughput Agreement” means an agreement that allows one grain
company to move its grain through an elevator operated by another person, with unloading,
storage, loading and ancillary services provided by the operator pursuant to terms, conditions
and rates that are common in the grain industry.

T. “Stockton port elevator” means the port elevator operated by Continental at or near
Stockton, California, and all Related Assets.

U__ “Tacoma port elevator” means the port elevator operated by Continental at or near
Tacoma, Washington.

V. “Troy rail elevator” means the elevator with outbound rail capability operated by
Continental at or near Troy, Ohio, and all Related Assets.

Il.
APPLICABILITY

A. _ The provisions of this Final Judgment apply to the defendants, their successors and
assigns, their subsidiaries, affiliates, directors, officers, managers, agents, and employees, and all
other persons in active concert or participation with any of them who shall have received actual
notice of this Final Judgment by personal service or otherwise

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B. The pertinent defendant shall require, as a condition of the divestiture of the Assets,

that the Acquirer agree to be bound by the provisions of this Final Judgment.
IV.
DIVESTITURE OF ASSETS

A. Cargill is hereby ordered and directed, within five (5) months from the date this
Final Judgment is filed with the Court, or five (5) calendar days after notice of the entry of this
Final Judgment by the Court, whichever is later, to divest all of its property rights in the East
Dubuque river elevator and Morris river elevator to an Acquirer acceptable to the United States
in its sole discretion. It is hereby ordered and directed, within six (6) months from the date this
Final Judgment is filed with the Court, or five (5) calendar days after notice of the entry of this
Final Judgment by the Court, whichever is later, to divest all of its property rights in the Seattle
port elevator to an Acquirer acceptable to the United States in its sole discretion. The United
States, in its sole discretion, may agree to an extension of the time period, and shall notify the
Court in such circumstances.

B. Notwithstanding Section IV.A, the Acquirer of the Seattle port elevator may enter
into a Standard Throughput Agreement with Cargill, or any joint venture involving the Tacoma
elevator to which Cargill is a party (the “Cargill Joint Venture”), provided that: (1) the Acquirer
has no interest in Cargill or the Cargill Joint Venture; (2) the throughput agreement gives Cargill
or the Cargill Joint Venture no more rights concerning the operations of the facility than are
commonly granted to sublessees in Standard Throughput Agreements; (3) and Cargill or the
Cargill Joint Venture obtains continuing rights to move no more than 8.5 million bushels of
grain and oilseeds combined in any given month through the Seattle port elevator.

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C _ Notwithstanding Section [V.A and IV.B, Cargill need not divest the Seattle port
elevator if it does not buy, lease or otherwise acquire an interest in Continental’s port elevator at
or near Tacoma, Washington.

D. Continental is hereby ordered and directed, within five (5) months from the date
this Final Judgment is filed with the Court, or five (5) calendar days after notice of the entry of
this Final Judgment by the Court, whichever is later, to divest all of its property rights in the
Lockport river elevator, Caruthersville river elevator, Salina rail elevator, Troy rail elevator,
Beaumont port elevator, Stockton port elevator and Chicago port elevator to an Acquirer
acceptable to the United States in its sole discretion. The United States, in its sole discretion,
may agree to an extension of the time period, and shall notify the Court in such circumstances.

E. Unless the United States consents in writing, the divestiture pursuant to Section IV
or by trustee appointed pursuant to Section V of this Final Judgment, shail include the entire
Assets defined above (as qualified by Section IV.B and IV.C). Divestiture shall be
accomplished in such a way as to satisfy the United States, in its sole discretion, that the Assets
can and will be operated by the Acquirer as a viable, ongoing business. Divestiture of the
Assets, whether pursuant to Section IV or Section V of this Final Judgment, shall be made to an
Acquirer for whom it is demonstrated to the sole satisfaction of the United States that: (1) the
purchase is for the purpose of using the Asset to compete effectively in the grain business,

(2) the Acquirer has the managerial, operational, and financial capability to use the Asset to
compete effectively in the grain business; and (3) none of the terms of any agreement between
the Acquirer and defendant(s) give defendant(s) the ability unreasonably to raise the Acquirer’s
costs, to lower the Acquirer’s efficiency, or otherwise to interfere in the ability or incentive of

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the Acquirer to compete effectively. Moreover, the United States must be satisfied, in its sole
discretion, that any Standard Throughput Agreement that may be negotiated between Cargill or
the Cargill Joint Venture and the Acquirer of the Seattle port elevator: (1) would leave the
Acquirer with sufficient capacity for it to be a viable and effective competitor for the purchase of
corn and soybeans in the Pacific Northwest draw area; and (2) would not adversely affect the
Acquirer’s ability or incentives to compete vigorously for the origination of corn and soybeans
in the Pacific Northwest draw area, by raising the Acquirer’s costs, lowering its efficiency, or
otherwise interfering in the ability or incentive of the Acquirer to compete effectively

F. In accomplishing the divestiture ordered by this Final Judgment, defendants shall
make known, by usual and customary means, the availability of the Assets. Defendants shall
provide any person making inquiry regarding a possible purchase a copy of the Final Judgment.
The pertinent defendant shall also offer to furnish to any prospective purchaser, subject to
customary confidentiality assurances, all information regarding the Assets customarily provided
in a due diligence process, except such information subject to attorney client privilege or
attorney work product privilege. The pertinent defendant shall make available such information
to the United States at the same time that such information is made available to any other person.
The pertinent defendant shall permit prospective purchasers of the Assets to have reasonable
access to personnel and to make such inspection of physical facilities and any and all financial,
operational, or other documents and information customarily provided as part of a due diligence
process.

G. Defendants shall not interfere with any negotiations by the Acquirer to employ any
employee whose primary responsibility involves the use of the Assets.

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H Defendants shall take all reasonable steps to accomplish the prompt divestitures
contemplated by this Final Judgment. Defendants shall not take any action other than in the
ordinary course of business that will impede in any way the operation of the Assets.

I Cargill shall not purchase, lease or acquire any interest in the Lockport river
elevator, Caruthersville river elevator, Salina rail elevator, Troy rail elevator, Beaumont port
elevator, Stockton port elevator or Chicago port elevator, or any interest in the river elevator at
or near Birds Point, Missouri (in which Continental formerly owned a minority interest, and had
a right of first refusal to purchase grain). If another firm acquires the Tacoma port elevator
pursuant to a right of first refusal (and Cargill therefore retains the Seattle port elevator), Cargill
shall not subsequently purchase or lease the Tacoma port elevator. If another firm acquires the
Tacoma port elevator pursuant to a right of first refusal, Cargill shall not subsequently acquire
any other interest in that facility (including a joint venture interest) without the written consent
of the United States

J. Cargill shall enter into a throughput agreement that makes one-third (1/3) of the
daily loading capacity at its river elevator located at or near Havana, Illinois, or one barge-load
per day, whichever is greater, to an independent grain company acceptable to the United States
in its sole discretion (the “Havana Throughput Agreement’). Daily loading capacity shall be the
capacity registered with the CBOT. The independent grain company that obtains the throughput
right from Cargill (the “third party’’) must be qualified under CBOT rules and regulations to
make delivery of at least one barge-load of corn and soybeans per day for the settlement of
CBOT corn and soybean futures contracts, and must agree to register that capacity at the Havana

facility with the CBOT.
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The Havana Throughput Agreement shall allow the third party to use its share of the
loading capacity at the Havana facility to transload grain from trucks onto barges for commercial
purposes unrelated to futures contract deliveries, as well as to make deliveries under CROT
futures contracts. Cargill shall not be obligated by this Final Judgment to provide storage
services to the third party in excess of the storage services required to accommodate the
transloading of grain shipments from trucks to barges. Cargill’s load-out fees, and its fees for
any storage services that Cargill elects to provide for storage in excess of twenty-four hours from
the time of truck unload to barge loading, may not exceed the load-out fees and daily storage
rates published in applicable CBOT tariffs.

As part of the Havana Throughput Agreement, any dispute or disagreement between
Cargill and the third party arising from or relating to the throughput agreement or the third
party’s use of Cargill’s loading capacity at Havana shall be submitted, governed, and resolved in
accordance with the arbitration rules of the CBOT to the extent such dispute or disagreement
falls within the jurisdiction of the CBOT Arbitration Committees. To the extent such dispute or
disagreement does not fall within CBOT jurisdiction, such dispute or disagreement shall be
submitted, governed and resolved in accordance with the arbitration rules of the National Grain
and Feed Association, or other arbitration body that is mutually agreed upon by Cargill and the
third party Cargill shall abide by the decisions of such arbitrators

Cargill shall enter into the Havana Throughput Agreement within five (5) months from
the date this Final Judgment is filed with the Court, or five (5) calendar days after notice of the
entry of this Final Judgment by the Court, whichever 1s later. The United States, in its sole
discretion, may agree to an extension of the time period, and shall notify the Court in such

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circumstances. If Cargill has not entered into a Havana Throughput Agreement within this time
period, a trustee shall be appointed to satisfy this requirement pursuant to the same conditions as
are set forth in Section V
V.
APPOINTMENT OF TRUSTEE

A. In the event that Cargill has not divested the East Dubuque river elevator, Morris
river elevator or Seattle port elevator, or entered into the Havana Throughput Agreement, to the
extent required by Section IV of the Final Judgment within the time period specified therein, or
that Continental has not divested the Lockport river elevator, Caruthersville river elevator,
Salina rail elevator, Troy rail elevator, Beaumont port elevator, Stockton port elevator or
Chicago port elevator, to the extent required by Section IV of the Final Judgment, within the
time period specified, it shall notify the United States of that fact in writing. In that event, and
upon application of the United States, the Court shall appoint a trustee selected by the United
States to effect the divestiture of the Assets. Until such time as a trustee is appointed, defendants
shall continue their efforts to effect the divestiture as specified in Section IV.

B. After the appointment of a trustee becomes effective, only the trustee shall have the
right to divest the Assets. The trustee shall have the power and authority to accomplish the
divestiture at the best price then obtainable upon a reasonable effort by the trustee, subject to the
provisions of Sections IV, V and VIII of this Final Judgment, and shall have such other powers
as the Court shall deem appropriate. Subject to Section V. C. of this Final Judgment, the trustee
shall have the power and authority to hire at the cost and expense of defendants any investment
bankers, attorneys, or other agents reasonably necessary in the judgment of the trustee to assist in

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the divestiture, and such professionals and agents shall be solely accountable to the trustee The
trustee shall have the power and authority to accomplish the divestiture at the earliest possible
time to a purchaser acceptable to the United States in its sole discretion, and shall have such
other powers as this Court shall deem appropriate Defendants shall not object to a sale by the
trustee on any grounds other than the trustee's malfeasance. Any such objections by defendants
must be conveyed in writing to the United States and the trustee within ten (10) calendar days
after the trustee has provided the notice required under Section VI of this Final Judgment.

C. The trustee shall serve at the cost and expense of the pertinent defendant, on such
terms and conditions as the Court may prescribe, and shall account for all monies derived from
the sale of the Assets sold by the trustee and all costs and expenses so incurred. After approval
by the Court of the trustee's accounting, including fees for its services and those of any
professionals and agents retained by the trustee, all remaining money shall be paid to the
pertinent defendant and the trust shall then be terminated. The compensation of such trustee and
that of any professionals and agents retained by the trustee shall be reasonable and based on a fee
arrangement providing the trustee with an incentive based on the price and terms of the
divestiture and the speed with which it is accomplished.

D. The pertinent defendant shall use its best efforts to assist the trustee in
accomplishing the required divestiture, including their best efforts to effect all regulatory
approvals and its best efforts to obtain any necessary consent of any persons from whom they
lease the Assets The trustee and any consultants, accountants, attorneys, and other persons
retained by the trustee shall have full and complete access to the personnel, books, records, and
facilities of, and relating to, the Assets, and the pertinent defendant shall develop financial or

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other information relevant to such Assets customarily provided in a due diligence process as the
trustee may reasonably request, subject to reasonable protection for trade secret or other
confidential research, development, or commercial information. Defendants shall take no action
to interfere with or to impede the trustee's accomplishment of the divestiture. The pertinent
defendant shall permit any prospective Acquirer of the Assets to have reasonable access to
personnel and to make such inspection of physical facilities and any and all financial,
operational, or other documents and other information as may be relevant to the divestitures
required by this Final Judgment.

E. After its appointment, the trustee shall file monthly reports with the parties and the
Court setting forth the trustee's efforts to accomplish the divestiture ordered under this Final
Judgment; provided, however, that to the extent such reports contain information that the trustee
deems confidential, such reports shall not be filed in the public docket of the Court. Such
reports shall include the name, address, and telephone number of each person who, during the
preceding month, made an offer to acquire, expressed an interest in acquiring, entered into
negotiations to acquire, or was contacted or made an inquiry about acquiring, any interest in the
Assets, and shall describe in detail each contact with any such person during that period. The
trustee shall maintain full records of all efforts made to divest the Assets. If the trustee has not
accomplished such divestiture within six (6) months after its appointment, the trustee shall
thereupon promptly file with the Court a report setting forth (1) the trustee's efforts to
accomplish the required divestiture, (2) the reasons, in the trustee's judgment, why the required
divestiture has not been accomplished, and (3) the trustee's recommendations; provided,
however, that to the extent such reports contain information that the trustee deems confidential,

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such reports shall not be filed in the public docket of the Court. The trustee shall at the same
time furnish such report to the parties, who shall each have the right to be heard and to make
additional recommendations consistent with the purpose of the trust. The Court shall thereafter
enter such orders as it shall deem appropriate in order to carry out the purpose of the Final
Judgment, which may, if necessary, include extending the trust and the term of the trustee's
appointment by a period requested by the United States.
VI.
NOTIFICATION
A. Within two (2) business days following execution of a definitive agreement with
respect to any of the Assets, the pertinent defendant or the trustee, whichever is then responsible
for effecting the divestiture required herein, shall notify the United States of any proposed
divestiture required by Section IV or V of this Final Judgment. If the trustee is responsible, it
shall similarly notify the pertinent defendant. The notice shall set forth the details of the
proposed transaction and list the name, address, and telephone number of each person not
previously identified who offered to, or expressed an interest in or desire to, acquire any
ownership interest in the Assets, together with full details of the same. Within fifteen (15)
calendar days after receipt of the notice, the United States may request from the pertinent
defendant, the proposed purchaser, or any third party additional information concerning the
proposed divestiture, the proposed purchaser, and any other potential purchaser. The pertinent
defendant or the trustee shall furnish the additional information within fifteen (15) calendar days
of the receipt of the request. Within thirty (30) calendar days after receipt of the notice or within
twenty (20) calendar days after receipt of the additional information by the United States,

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whichever is later, the United States shall notify in writing the pertinent defendant and the
trustee, if there is one, whether or not it objects to the proposed divestiture If the United States
notifies in writing the pertinent defendant and the trustee, if there is one, that it does not object,
then the divestiture may be consummated, subject only to the pertinent defendant’s limited right
to object to the sale under Section V. B. Absent written notice that the United States does not
object to the proposed purchaser or upon objection by the United States, a divestiture proposed
under Section IV or V may not be consummated Upon objection by a defendant under Section
V B, the proposed divestiture under Section V shall not be accomplished unless approved by
the Court.

B Twenty (20) calendar days from the date of the filing of this Final Judgment, and
every thirty (30) calendar days thereafter until the divestiture has been completed under Section
IV or V, each defendant shall deliver to the United States a written affidavit as to the fact and
manner of compliance with Section IV or V of this Final Judgment. Each such affidavit shall
include, for each person who during the preceding thirty (30) calendar days made an offer,
expressed an interest or desire to acquire, entered into negotiations to acquire, or made an
inquiry about acquiring any ownership interest in all or any portion of the Assets, the name,
address, and telephone number of that person and a detailed description of each contact with that
person during that period. Each such affidavit shall also include a description of the efforts that
the pertinent defendant has taken to solicit an Acquirer for the relevant Assets and to provide
required information to prospective Acquirers including the limitations, if any, on such
information. Assuming that the information set forth in the affidavit is true and complete, any
objection by the United States to the information provided by the defendants, including

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limitations on information, shall be made within fourteen (14) calendar days of receipt of such
affidavit. Until one year after each defendant has completed such divestitures, that defendant
shall maintain full records of all efforts made to divest all or any portion of the Assets.
Vil.
FINANCING
Defendants shall not finance all or any part of any purchase of the Assets made pursuant
to Sections IV or V of this Final Judgment. With respect to Assets leased by a defendant,
however, the pertinent defendant will not violate this condition if: (1) the lessor holds the
pertinent defendant responsible for lease payments under an assignment or sublease of the
defendant’s leasehold interests; or (2) the pertinent defendant makes up any shortfall between its
lease payment obligations and the lease payments negotiated by the person to whom it assigns or

subleases its leasehold interests.

VOI.

HOLD SEPARATE AND PRESERVATION OF ASSETS REQUIREMENTS

Unless otherwise indicated, from the date of filing of this proposed Final Judgment with
the Court and until the divestitures required by Sections [V.A, IV D and/or V of the Final
Judgment, and the execution of the Havana Throughput Agreement required by Section IV_J,
have been accomplished:

A. Subject to force majeure, defendants shall: (1) take all steps necessary to assure that
the Assets and Cargill’s Havana river elevator are maintained as separate, distinct and salable
assets; and extend all reasonable efforts to maintain these facilities in a condition that makes

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them usable as grain elevators; (2) not sell, assign, transfer, or otherwise dispose of these
facilities, or pledge them as collateral for loans, except in accordance with the Final Judgment,
(3) take all steps necessary to preserve these facilities in a state of repair equal to their current
State of repair, ordinary wear and tear excepted; (4) take all steps necessary to preserve the
documents, books, customers lists and records relating to these facilities; (5) refrain from taking
any actions that would jeopardize the sale of these facilities; and (6) continue to operate these
facilities as grain elevators. Notwithstanding the foregoing: (a) if Continental’s lease of the
Salina rail elevator expired on or before April 30, 1999 and was not renewed, that facility shall
not be subject to this section of the Final Judgment; and (b) if Cargill’s lease of the East
Dubuque river elevator expires prior to divestiture, Cargill shall not thereafter be subject to the
provisions of this section if it has offered to extend the lease at rates and conditions substantially
similar to the rates and conditions in its current lease, and the lessor has rejected that offer.

B Except in the ordinary course of business or as is otherwise consistent with this
Final Judgment, defendants shall not hire and shall not transfer or terminate, or alter, to the
detriment of any employee, any current employment or salary agreements for any employees

-who on June 24, 1999 worked at any of the Assets, unless such individual has a written offer of
employment from a third party for a like or better position.

C _ Until such time as the Assets are divested: William F Winnie shall manage the
Beaumont port elevator, Caruthersville river elevator, Chicago port elevator, Lockport river
elevator, Stockton port elevator and Troy rail elevator; Peter Reed shall manage the East
Dubuque river elevator; Sharon Spies shall manage the Morris river elevator; and Donald Vogt
shall manage the Seattle port elevator. These individuals shall have complete managerial

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responsibility for the Assets, subject to the provisions of the Final Judgment. In the event that
these individuals are unwilling or unable to perform these duties, defendants shall appoint,
subject to the United States’ approval, a replacement acceptable to the United States within ten
(10) working days Should defendants fail to appoint a replacement acceptable to the United
States within ten (10) working days, the United States may appoint a replacement

D. Defendants shall take no action that would interfere with the ability of any trustee
appointed pursuant to the Final Judgment to complete the divestiture pursuant to the Final
Judgment to a suitable Acquirer.

E Continental shall operate the Lockport river elevator, Caruthersville river elevator,
Troy rail elevator, Beaumont port elevator, Stockton port elevator and Chicago port elevator
independently from and in competition with Cargill. Defendants shall not implement any non-
compete agreements until all of the Assets have been divested. The term of any such non-
compete agreement shall not be more than three (3) years.

IX.
COMPLIANCE INSPECTION

For the purpose of determining or securing compliance with this Final Judgment, and
subject to any legally recognized privilege, from time to time:

A Duly authorized representatives of the United States, including consultants and
other persons retained by the United States, shall, upon the written request of the Assistant
Attorney General in charge of the Antitrust Division, and on reasonable notice to defendants

made to their principal offices, be permitted

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l access during office hours to inspect and copy all books, ledgers,
accounts, correspondence, memoranda, and other records and documents in the
possession or under the control of defendants, which may have counsel present, relating
to any matters contained in this Final Judgment; and

2. subject to the reasonable convenience of defendants and without restraint
or interference from them, to interview either informally or on the record, directors,
officers, employees, and agents of defendants, which may have counsel present,
regarding any such matters.

B. Upon the written request of the Assistant Attorney General in charge of the
Antitrust Division, made to defendants at their principal offices, defendants shall submit written
reports, under oath if requested, with respect to any of the matters contained in this Final
Judgment as may be requested.

C. No information nor any documents obtained by the means provided in Sections
VIL or [X shall be divulged by any representative of the United States to any person other than a
duly authorized representative of the Executive Branch of the United States, except in the course
of legal proceedings to which the United States is a party (including grand jury proceedings), or
for the purpose of securing compliance with this Final Judgment, or as otherwise required by
law.

D. If at the time information or documents are furnished by a defendant to the United
States, such defendant represents and identifies in writing the material in any such information
or documents for which a claim of protection may be asserted under Rule 26(c)(7) of the Federal
Rules of Civil Procedure, and defendant marks each pertinent page of such material, "Subject to

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claim of protection under Rule 26(c)(7) of the Federal Rules of Civil Procedure," then the
United States shall give ten (10) calendar days’ notice to defendant prior to divulging such
material in any legal proceeding (other than a grand jury proceeding) to which defendant is not a
party
X,
RETENTION OF JURISDICTION
Jurisdiction is retained by this Court for the purpose of enabling any of the parties to this
Final Judgment to apply to this Court at any time for such further orders and directions as may
be necessary or appropriate for the construction, implementation, or modification of any of the
provisions of this Final Judgment, for the enforcement of compliance herewith, and for the
punishment of any violations hereof
XI.
TERMINATION OF PROVISIONS
Unless this Court grants an extension, this Final Judgment will expire on the tenth
anniversary of the date of its entry.
XII.
PUBLIC INTEREST
Entry of this Final Judgment is in the public interest

Dated: re ao T, 2 ov-uw”

Court approval subject to procedures of Antitrust Procedures and Penalties Act, 15 US.C § 16

    

United States

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